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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA              :

V.                                    :     CASE NO. 3:17-cr-83-RNC

PETER YURYEVICH LEVASHOV              :



                                    ORDER

     Defendant moves to postpone jury selection until December

3, 2018 (ECF No. 64). The Government has no objection to this

motion. Defendant has filed a properly executed waiver of his

rights under the Speedy Trial Act (“the Act”), 18 U.S.C. §§

3161, et seq., as to the period of delay from March 5, 2018,

until December 3, 2018. For reasons that follow, the motion is

granted.

     The Act generally requires that the trial of a defendant

commence within seventy days after the filing of the indictment

or the date the defendant first appears in court, whichever is

later.     18 U.S.C. § 3161(c)(1).      A continuance may be granted if

the court finds “that the ends of justice served by taking such

action outweigh the best interest of the public and the

defendant in a speedy trial.”        18 U.S.C. § 3161(h)(7)(A).          One

relevant factor is whether failure to grant the continuance

would deny counsel reasonable time necessary for effective
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preparation, taking into account the exercise of due diligence.

18 U.S.C. § 3161(h)(7)(B)(iv).

    In support of defendant’s motion, counsel notes that all

discovery is stayed pending the resolution of a Curcio motion.

Counsel states this is a complex cyber case and he will need

time to thoroughly review the Government’s voluminous discovery

and relevant materials; to determine whether the engagement of

expert assistance is necessary; and, if so, to allow any

potential expert enough time to conduct whatever evaluations or

reviews may be necessary.     Counsel will also need time to

effectively communicate with the defendant regarding the case.

    Crediting the representations of defense counsel, I find

that the ends of justice served by the requested continuance

outweigh the interest of the public and the defendant in a

speedy trial in that failure to grant the continuance would deny

counsel the reasonable time necessary for effective preparation.

    Accordingly, defendant’s motion to continue jury selection

(ECF No. 64) is hereby granted.      The period March 5, 2018,

through December 3, 2018, will be excluded under the Act.

    Jury selection is hereby rescheduled to December 3, 2018,

at 9:00 a.m.

    So ordered this 12th day of March, 2018.

                                                 /s/ RNC
                                             Robert N. Chatigny
                                        United States District Judge
